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 4                                  UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES,                            )
                                               )
 8                     Plaintiff,              )                Case No. 2:11-cr-00327-PMP-CWH
                                               )
 9   vs.                                       )                ORDER
                                               )
10   MICHAEL PAUL MATULICH,                    )
                                               )
11                     Defendants.             )
     __________________________________________)
12
            This matter is before the Court on Defendant Michael Paul Matulich’s Motion for Release
13
     on Personal Recognizance or Bail (#45), filed March 14, 2012 and the Government’s Response
14
     (#46), filed March 19, 2012.
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            As with Defendant’s prior attempt to file the same motion, this motion was not filed
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     through Defendant’s appointed counsel. Pursuant to LR IA 10-6(a), “[a] party who has appeared by
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     attorney cannot while so represented appear or act in the case.” See also Order (#44). Accordingly,
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            IT IS HEREBY ORDERED that Defendant Michael Paul Matulich’s Motion for Release
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     on Personal Recognizance or Bail (#45) is denied. Defendant must file any motion through his
20
     appointed counsel.
21
            DATED this 20th day of March, 2012.
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23
24                                               ______________________________________
                                                 C.W. Hoffman, Jr.
25                                               United States Magistrate Judge
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